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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
______________________________________________

MINDY GOODMAN on behalf of herself and
all other similarly situated consumers

                             Plaintiff,

             -against-

MERCANTILE ADJUSTMENT BUREAU, LLC

                        Defendant.
______________________________________________

                              CLASS ACTION COMPLAINT

                                          Introduction

1.    Plaintiff, Mindy Goodman, brings this action against Mercantile Adjustment Bureau,

      LLC for violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq.

      (“FDCPA”). The FDCPA prohibits debt collectors from engaging in abusive, deceptive

      and unfair collection practices while attempting to collect on debts.

                                             Parties

2.    Plaintiff is a citizen of the State of New York who resides within this District.

3.    Plaintiff is a consumer as that term is defined by Section 1692(a)(3) of the FDCPA, in

      that the alleged debt that Defendant sought to collect from Plaintiff a consumer debt.

4.    Upon information and belief, Defendant's principal place of business is located in

      Williamsville, New York.

5.    Defendant is regularly engaged, for profit, in the collection of debts allegedly owed by

      consumers.




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6.    Defendant is a “debt collector” as that term is defined by the FDCPA, 15 U.S.C. §

      1692(a)(6).

                                     Jurisdiction and Venue

7.    This Court has federal question jurisdiction under 15 U.S.C. § 1692k(d) and 28 U.S.C. §

      1331.

8.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(b), as the acts and

      transactions that give rise to this action occurred, in substantial part, in this district.

                          Allegations Particular to Mindy Goodman

9.    Upon information and belief, on a date better known by Defendant, Defendant began to

      attempt to collect an alleged consumer debt from the Plaintiff.

10.   On or about August 8, 2017, Defendant sent the Plaintiff a collection letter.

11.   The said letter was an effort to collect on a defaulted consumer debt.

12.   The August 8, 2017 letter was an initial communication, sent by the Defendant to the

      Plaintiff.

13.   The said August 8, 2017 letter stated in part: “Please send payment and

      correspondence to: Mercantile Adjustment Bureau, LLC PO Box 9055 Williamsville

      NY 14231-9055” (emphasis in original.)

14.   Defendant’s August 8, 2017 letter misrepresented the Plaintiff’s right to dispute the debt,

      in violation of 15 U.S.C. §§ 1692e, 1692e(10) and 1692g.

15.   Although the Defendant’s letter includes a telephone number, that number refers only to

      payments.

16.   Defendant’s statement would lead an unsophisticated consumer to conclude that her

      option to dispute the debt, could only be in writing.




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17.      It is a violation of FDCPA to require disputes be made in writing and it is a violation of

         the FDCPA to include language in a letter that overshadows the required 15 U.S.C. §

         1692g statement.

18.      It is a further violation of the FDCPA to include language in the letter that contradicts the

         required 15 U.S.C. § 1692g statement.

19.      An unsophisticated consumer would conclude from the above mentioned language, that

         he has no option to make an oral dispute.1

20.      This language overshadowed and contradicted the validation notice stated above it in the

         letter, and was misleading, since it leaves the debtor with a false notion that disputing an

         alleged debt requires a written communication to be sent to the above mentioned address.

21.      An unsophisticated consumer would think that all disputes can only be done in writing.2

22.      The said language can be reasonably read to have two or more different meanings, one of


1
  Hooks v. Forman, Holt, Eliades & Ravin, LLC, 717 F.3d 282, 2013 U.S. App. LEXIS 10754, 2013 WL 2321409
(2d Cir. N.Y. 2013) (Requiring a consumer to dispute a debt in writing violates the FDCPA.); Balke v. Alliance One
Receivables Mgmt., No. 16-cv-5624(ADS)(AKT), 2017 U.S. Dist. LEXIS 94021, at *14 (E.D.N.Y. June 19, 2017)
("[T]he Plaintiff correctly notes that consumers are not required to dispute an alleged debt in writing. Thus, by
advising the consumer that any correspondence for this account should be sent to the listed mailing address, it
wrongly implies that disputes must be made in writing, and may lead the least sophisticated consumer to believe
she has that obligation. . . . It is undisputed that the Second Circuit has prohibited debt collectors from stating,
directly or indirectly, that consumers may only enforce their right to dispute an alleged debt in writing.") (emphasis
added); Vetrano v. CBE Grp., Inc., 2016 WL 4083384 (E.D.N.Y. Aug. 1, 2016) ("Because the language "written
disputes" as used in the challenged phrase has the potential to overshadow or contradict the information contained
within the Section 1692g notice and thereby confuse or mislead the least sophisticated consumer into erroneously
believing that a dispute must be in writing, the Plaintiff has stated a valid cause of action under this theory of
recovery."); Zengerle v. Dynia & Assocs., 2013 U.S. Dist. LEXIS 130873 (M.I. 2013) (Defendant points out that the
letter does not expressly state that the consumer must provide a written statement to dispute the debt, but only that
the consumer must “provide us with a statement.” Viewing the language from the perspective of the least
sophisticated consumer, however, “provide us with a statement” suggests that a writing is necessary and that the
consumer may not orally dispute the debt.)
2
 See e.g., Caprio v. Heathcare Revenue Recovery Group, LLC, 709 F.3d 142, 151 (3d Cir. 2013) (letter stating “if
you feel you do not owe this amount, please call us toll free” overshadowed notice; consumer may believe that a
phone call was sufficient to trigger duty to verify debt); Abramov v. I.C. Systems, Inc., _ F.Supp.3d_, 2014 WL
5147549 at *5 (E.D.N.Y Oct. 14, 2014) (Directing consumer to dispute debt “in writing” if identity theft is
suspected may overshadow right to verbally dispute debt); Oberther v. Midland Credit Management, Inc.,
_F.Supp.3d_, 2014 WL 4548871, at *6 (D. Mass. Sept. 15, 2014) (letter that gave only two options to stop referral
of account to attorney – mail payment, or call to settle – without mentioning that submitting a dispute would also do
so, overshadowed validation notice.)



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        which is inaccurate.3

23.     Defendant’s August 8, 2017 letter violated 15 U.S.C. §§ 1692e, 1692e(10), and

        1692g(a)(4) for failing to comply with the validation notice requirements, and in

        particular, for misrepresenting Plaintiff’s right to dispute the debt.

24.     Plaintiff suffered injury in fact by being subjected to unfair and abusive practices of the

        Defendant.

25.     Plaintiff suffered actual harm by being the target of the Defendant's misleading debt

        collection communications.

26.     Defendant violated the Plaintiff's right not to be the target of misleading debt collection

        communications.

27.     Defendant violated the Plaintiff's right to a truthful and fair debt collection process.

28.     Defendant used materially false, deceptive, misleading representations and means in its

        attempted collection of Plaintiff's alleged debt.

29.     Defendant's communications were designed to cause the debtor to suffer a harmful

        disadvantage in charting a course of action in response to Defendant's collection efforts.

30.     The FDCPA ensures that consumers are fully and truthfully apprised of the facts and of

        their rights, the act enables them to understand, make informed decisions about, and

        participate fully and meaningfully in the debt collection process. The purpose of the

        FDCPA is to provide information that helps consumers to choose intelligently. The

        Defendant's false representations misled the Plaintiff in a manner that deprived her of her


3
  Pipiles v. Credit Bureau of Lockport, Inc., 886 F.2d 22, 25 (2d Cir. 1989) (Because the collection notice was
reasonably susceptible to an inaccurate reading, it was deceptive within the meaning of the Act.); Clomon v.
Jackson, 988 F.2d 1314, 1319 (2d Cir. 1993) (Collection notices are deceptive if they are open to more than one
reasonable interpretation, at least one of which is inaccurate.); Russell v. Equifax A.R.S., 74 F.3d 30, 34 (2d Cir.
N.Y. 1996) (A collection notice is deceptive when it can be reasonably read to have two or more different meanings,
one of which is inaccurate. The fact that the notice's terminology was vague or uncertain will not prevent it from
being held deceptive under § 1692e(10) of the Act.)



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      right to enjoy these benefits, these materially misleading statements trigger liability under

      section 1692e of the Act.

31.   These deceptive communications additionally violated the FDCPA since they frustrate

      the consumer’s ability to intelligently choose his or her response.

32.   Plaintiff seeks to end these violations of the FDCPA. Plaintiff has suffered damages

      including but not limited to, fear, stress, mental anguish, emotional stress and acute

      embarrassment. Plaintiff and putative class members are entitled to preliminary and

      permanent injunctive relief, including, declaratory relief, and damages.

                                  CLASS ALLEGATIONS

33.   This action is brought as a class action. Plaintiff brings this action on behalf of himself

      and on behalf of all other persons similarly situated pursuant to Rule 23 of the Federal

      Rules of Civil Procedure.

34.   The identities of all class members are readily ascertainable from the records of the

      Defendant and those business and governmental entities on whose behalf it attempts to

      collect debts.

35.   Excluded from the Plaintiff's Class is the Defendant and all officers, members, partners,

      managers, directors, and employees of the Defendant, and all of their respective

      immediate families, and legal counsel for all parties to this action and all members of

      their immediate families.

36.   There are questions of law and fact common to the Plaintiff's Class, which common

      issues predominate over any issues involving only individual class members.              The

      principal issues are whether Defendant's communications with the Plaintiff, such as the

      above stated claims, violate provisions of the Fair Debt Collection Practices Act.




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37.   The Plaintiff's claims are typical of the class members, as all are based upon the same

      facts and legal theories.

38.   The Plaintiff will fairly and adequately protect the interests of the Plaintiff's Class defined

      in this complaint. The Plaintiff has retained counsel with experience in handling

      consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiff nor

      his attorneys have any interests, which might cause them not to vigorously pursue this

      action.

39.   This action has been brought, and may properly be maintained, as a class action pursuant

      to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a

      well-defined community interest in the litigation:

         (a)      Numerosity: The Plaintiff is informed and believes, and on that basis alleges,

                  that the Plaintiff's Class defined above is so numerous that joinder of all

                  members would be impractical.

         (b)      Common Questions Predominate: Common questions of law and fact exist

                  as to all members of the Plaintiff's Class and those questions predominate

                  over any questions or issues involving only individual class members. The

                  principal issues are whether the Defendant's communications with the

                  Plaintiff, such as the above stated claims, violate provisions of the Fair Debt

                  Collection Practices Act.

         (c)      Typicality: The Plaintiff's claims are typical of the claims of the class

                  members. Plaintiff and all members of the Plaintiff's Class defined in this

                  complaint have claims arising out of the Defendant's common uniform

                  course of conduct complained of herein.




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         (d)      Adequacy: The Plaintiff will fairly and adequately protect the interests of

                  the class members insofar as Plaintiff has no interests that are adverse to the

                  absent class members. The Plaintiff is committed to vigorously litigating

                  this matter. Plaintiff has also retained counsel experienced in handling

                  consumer lawsuits, complex legal issues, and class actions. Neither the

                  Plaintiff nor her counsel have any interests, which might cause them not to

                  vigorously pursue the instant class action lawsuit.

         (e)      Superiority: A class action is superior to the other available means for the

                  fair and efficient adjudication of this controversy because individual

                  joinder of all members would be impracticable. Class action treatment

                  will permit a large number of similarly situated persons to prosecute their

                  common claims in a single forum efficiently and without unnecessary

                  duplication of effort and expense that individual actions would engender.

                  Certification of a class under Rule 23(b)(l)(A) of the Federal Rules of Civil

                  Procedure is appropriate because adjudications with respect to individual

                  members create a risk of inconsistent or varying adjudications which could

                  establish incompatible standards of conduct for Defendant who, on

                  information and belief, collects debts throughout the United States of

                  America.

40.   Certification of a class under Rule 23(b)(2) of the Federal Rules of Civil Procedure is

      also appropriate in that a determination that the above stated claims, violate provisions of

      the Fair Debt Collection Practices Act, and is tantamount to declaratory relief and any

      monetary relief under the FDCPA would be merely incidental to that determination.




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41.      Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure is

         also appropriate in that the questions of law and fact common to members of the

         Plaintiff's Class predominate over any questions affecting an individual member, and a

         class action is superior to other available methods for the fair and efficient adjudication of

         the controversy.

42.      Further, Defendant has acted, or failed to act, on grounds generally applicable to the Rule

         (b)(l)(A) and (b)(2) Class, thereby making appropriate final injunctive relief with respect

         to the Class as a whole.

43.      Depending on the outcome of further investigation and discovery, Plaintiff may, at the

         time of class certification motion, seek to certify one or more classes only as to particular

         issues pursuant to Fed. R. Civ. P. 23(c)(4).

                              AS AND FOR A CAUSE OF ACTION

      Violations of the Fair Debt Collection Practices Act brought by Plaintiff on behalf of
                  herself and the members of a class, as against the Defendant.

44.      Plaintiff repeats, reiterates, and incorporates the allegations contained in paragraphs

         numbered one (1) through forty-three (43) herein with the same force and effect is if the

         same were set forth at length herein.

45.      This cause of action is brought on behalf of Plaintiff and the members of a class.

46.      The class involves all individuals whom Defendant's records reflect resided in the State

         of New York and who were sent a collection letter in substantially the same form letter as

         the letter sent to the Plaintiff on or about August 8, 2017; and (a) the collection letter was

         sent to a consumer seeking payment of a personal debt; and (b) the collection letter was

         not returned by the postal service as undelivered; and (c) the Plaintiff asserts that the

         letter contained violations of 15 U.S.C. §§ 1692e, 1692e(10), and 1692g(a)(4) for failing



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        to comply with the validation notice requirements, and in particular, for misrepresenting

        Plaintiff’s right to dispute the debt.

                           Violations of the Fair Debt Collection Practices Act

47.     The Defendant's actions as set forth above in the within complaint violates the Fair Debt

        Collection Practices Act.

48.     Because the Defendant violated the Fair Debt Collection Practices Act, the Plaintiff and

        the members of the class are entitled to damages in accordance with the Fair Debt

        Collection Practices Act.

WHEREFORE, Plaintiff, respectfully requests preliminary and permanent injunctive relief, and that this

Court enter judgment in Plaintiff's favor and against the Defendant and award damages as follows:

        (a)     Statutory damages provided under the FDCPA, 15 U.S.C. § 1692(k);

        (b)     Attorney fees, litigation expenses and costs incurred in bringing this action; and

        (c)     Any other relief that this Court deems appropriate and just under the

                circumstances.

Dated: Brooklyn, New York
       August 8, 2018
                                                   /s/ Maxim Maximov_____
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                                                 Attorneys for the Plaintiff
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Plaintiff requests trial by jury on all issues so triable.

                                                   /s/ Maxim Maximov_____
                                                  Maxim Maximov, Esq.




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